




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS



)
	

KELLIE JOHNETTE HOLMAN,)
		   No. 08-02-00434-CR

)


			Appellant,)
			Appeal from

)
	

v.)
		    282nd District Court

)


THE STATE OF TEXAS,)
		 of Dallas County, Texas

)


			Appellee.)
		      (TC# F-0023877-S)


MEMORANDUM OPINION



	Kellie Johnette Holman appeals her conviction for unlawfully obtaining a controlled
substance.  Appellant waived her right to a jury trial and entered a negotiated plea of guilty.  The trial
court found Appellant guilty and assessed her punishment in accordance with the plea bargain at
imprisonment for a term of four years, probated.  The court later revoked Appellant's community
supervision and imposed the original sentence of four years.  We affirm.

	Appellant's court-appointed counsel has filed a brief in which he has concluded that the
appeal is wholly frivolous and without merit.  The brief meets the requirements of Anders v.
California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493, reh. denied, 388 U.S. 924, 87 S.Ct. 2094,
18 L.Ed.2d 1377 (1967), by presenting a professional evaluation of the record demonstrating why,
in effect, there are no arguable grounds to be advanced.  See High v. State, 573 S.W.2d 807
(Tex.Crim.App. 1978); Currie v. State, 516 S.W.2d 684 (Tex.Crim.App. 1974); Jackson v. State,
485 S.W.2d 553 (Tex.Crim.App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex.Crim.App. 1969). 
A copy of counsel's brief has been delivered to Appellant, and Appellant has been advised of her
right to examine the appellate record and file a pro se brief.  No pro se brief has been filed.

	We have carefully reviewed the record and counsel's brief, and agree that the appeal is
wholly frivolous and without merit.  Further, we find nothing in the record that might arguably
support the appeal.  The judgment is affirmed.



July 31, 2003						                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Panel No. 2

Barajas, C.J., McClure, and Chew, JJ.


(Do Not Publish)



